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                                                                                   FiLED
                         IN   THE   UNITED   STATES    DISTRICT    COUR
                                                                               JUL - 2 2018
                         FOR THE EASTERN DISTRICT OF VIRGINHA

                                    NEWPORT NEWS      DIVISION            CLEtiK, us C^STRICi COURT
                                                                                 KORI'OLK. VA

UNITED    STATES   OF AMERICA


         V.                                           cjase NO. ^
                                                      Case   No             1^
                                                      Court Date: Septeibter 11, 2018
EDWIN    K.   LAWRENCE




                                    CRIMINAL      INFORMATION


                    (Misdemeanor)-Violation Notice No.               6309730

        THE   UNITED   STATES    ATTORNEY     CHARGES;


        That on or about June 21,            2017,   at Naval Weapons Station

Yorktown, Virginia, in the Eastern District of Virginia, the

defendant, EDWIN K.           LAWRENCE, did unlawfully,           knowingly, and

intentionally possess marijuana, a Schedule I controlled substance.

        (In violation of Title 21, United States Code, Section 844.)

                                             Respectfully submitted,

                                             G.   Zachary Terwilliger
                                             United States Attorney



                                        , (L I 61
                                      By:
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